Case 2:17-cv-00699-BRM-RLS           Document 667         Filed 08/11/23      Page 1 of 1 PageID:
                                          23229                         THREE GATEWAY CENTER
                                                                        100 Mulberry St, 15th Floor
                                                                        Newark, NJ 07102
                                                                        T: 973.757.1100
                                                                        F: 973.757.1090
                                                                        WALSH.LAW
Liza M. Walsh
Direct Dial: (973) 757‐1101
lwalsh@walsh.law
                                         August 11, 2023

FILED VIA ECF

Honorable Brian R. Martinotti, U.S.D.J.
U.S. District Court, District of New Jersey
Martin Luther King Jr. Courthouse
50 Walnut Street
Newark, New Jersey 07101

    Re:      In re Insulin Pricing Litigation, Civil Action No. 3:17-cv-699 (BRM) (ESK)

Dear Judge Martinotti,

         This firm, together with Jones Day, represents Defendant Sanofi-Aventis U.S. LLC
(“Sanofi”) in the above-referenced action. We write on behalf of Sanofi and Defendant Novo
Nordisk Inc. (“Novo”) to respectfully request oral argument, subject to the Court’s availability, on
Plaintiffs’ Motion for Class Certification (ECF 574) and Defendants’ Motion to Exclude the
Testimony of Professor Meredith Rosenthal (ECF 593). We have conferred with Plaintiffs, and all
parties are available on October 2, 3, and 6. If necessary, the parties will be happy to submit
additional proposed dates.

         We appreciate Your Honor’s consideration of this submission and ongoing attention to this
matter. We are always available should Your Honor have any questions or require anything
further.

                                                             Respectfully submitted,
                                                             /s/ Liza M. Walsh
                                                             Liza M. Walsh



cc: Counsel of Record (via ECF and Email)
